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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


JAMIE KAUFMANN WOODS, et al.,                       )
                                                    )
            Plaintiffs,                             )
                                                    )
      v.                                            )           No. 1:03-CV-105 CAS
                                                    )
BOB WILLS, et al.,                                  )
                                                    )
            Defendants.                             )

                PARTIAL JUDGMENT AS A MATTER OF LAW
       PURSUANT TO RULE 50(A), FEDERAL RULES OF CIVIL PROCEDURE

        This action came on for trial before a jury, the undersigned United States District Judge

presiding. Following presentation of all of plaintiffs’ evidence on the issues raised in the plaintiffs’

Complaint, the defendants filed a motion for judgment as a matter of law at the close of all the

evidence pursuant to Federal Rule of Civil Procedure 50(a). The Court denied in part and granted

in part defendants’ motion for judgment as a matter of law on the record, applying the following

standard.

        “Pursuant to Rule 50, a court should render judgment as a matter of law when ‘a party has

been fully heard on an issue and there is no legally sufficient evidentiary basis for a reasonable jury

to find for that party on that issue.’” Phillips v. Collings, 256 F.3d 843, 847 (8th Cir. 2001) (quoting

Fed. R. Civ. P. 50(a)). “In making this determination, the court must draw all reasonable inferences

in favor of the nonmoving party without making credibility assessments or weighing the evidence.”

Id. (citing Lytle v. Household Mfg., Inc., 494 U.S. 545, 554-55 (1990)). “Credibility determinations,

the weighing of the evidence, and the drawing of legitimate inferences from the facts are jury
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functions, not those of a judge.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150-51,

(2000) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250-51 (1986)).

        The Court concludes that judgment as a matter of law is proper on plaintiffs Jamie Kaufmann

Woods, Shari Lueken, Erika Teasley, Tracey Brazil Ozuna and Jessica Deboi’s negligence claims

against the defendants for failure to refer them for medical care and treatment with respect to missed

menstrual periods and constipation. There was insufficient evidence presented that any of the

plaintiffs suffered any injury as a result of defendants’ alleged failure to obtain medical treatment. See

Stineman v. Fontbonne College, 664 F.2d 1082, 1086 (8th Cir. 1981) (plaintiff must establish that

providing medical attention would have avoided the injury’s ultimate harm).

        Judgment as a matter of law is proper on plaintiffs Jamie Kaufmann Woods, Shari Lueken,

Erika Teasley, Tracey Brazil Ozuna and Jessica Deboi’s negligence claims concerning alleged sleep

deprivation as there was no evidence the defendants caused any sleep deprivation or that plaintiffs

suffered any injury as a result of sleep deprivation.

        Judgment as a matter of law is proper on plaintiff Shari Lueken’s negligence claim concerning

the alleged deterioration of her eyesight, as there was insufficient evidence presented that Lueken

notified any of the defendants that her eyesight was deteriorating or asked to be taken to an eye

doctor. As a result, no duty arose on defendants’ part to refer Lueken to an eye doctor for treatment

and defendants cannot have been negligent in this regard. See id., 664 F.2d at 1086 (elements of

cause of action for negligent failure to provide medical treatment).

        Judgment as a matter of law is proper on plaintiff Jamie Kaufman Woods’ negligence claim

regarding failure to refer her for medical treatment after she swallowed a safety pin, as there was




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insufficient evidence presented that Woods suffered any injury as a result of defendants’ failure to

obtain medical treatment. See Stineman, 664 F.2d at 1086.

        Judgment as a matter of law is proper on plaintiff Shari Lueken’s claim that defendant Debbie

Gerhardt was negligent in giving Lueken a cold shower, as there is no evidence that defendant failed

to use the degree of care that an ordinarily careful person would use under the same or similar

circumstances, or that Lueken suffered any injury as a result. Moreover, this claim is in the nature

of intentional infliction of emotional distress, and the Court previously granted defendants’ motion

for summary judgment on all plaintiffs’ intentional infliction of emotional distress claims.

        Accordingly,

        IT IS HEREBY ORDERED, ADJUDGED and DECREED that judgment as a matter of

law pursuant to Rule 50(a), Federal Rules of Civil Procedure, is entered against plaintiffs Jamie

Kaufmann Woods, Shari Lueken, Erika Teasley, Tracey Brazil Ozuna and Jessica Deboi on their

negligence claims as set forth above, and in favor of defendants, and that plaintiffs’ negligence claims

against these defendants are DISMISSED on the merits.

        IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants and against plaintiffs Shari Lueken and Jessica Deboi on all of their claims, and

the same are DISMISSED on the merits.




                                                    CHARLES A. SHAW
                                                    UNITED STATES DISTRICT JUDGE

Dated this 22nd day of December, 2005.




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